Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 1 of 331




                  EXHIBIT C
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 2 of 331




               EXHIBIT C-1
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                EXHIBIT C-2
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                EXHIBIT C-5
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                EXHIBIT C-7
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                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                              Chloe Jimenez

 RAVINDRA SINGH,                                         §           IN THE DISTRICT COURT
                                                         §
           Plaintiff,                                    §
                                                         §
 v.                                                      §
                                                         §
 EXTENDED STAY AMERICA, INC.,                            §           TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                           §
 BRIAN MORGAN, CRYSTAL                                   §
 TORRES, JON DOE, JANE DOE                               §
                                                         §
           Defendants.                                   §           53RD JUDICIAL DISTRICT


         DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL
      EXCEPTIONS, ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE
                               DEFENSES


          COMES NOW Defendant, Bruce N. Haase (“Defendant”), and files this Special

Appearance, Special Exceptions, Original Answer, Verified Denial, and Affirmative Defenses to

Plaintiff Ravindra Singh’s (“Plaintiff’) Original Petition, and states as follows:

                                      I.   SPECIAL APPEARANCE

          1.      Defendant, Bruce N. Haase, asks the Court to sustain his special appearance and

      dismiss Plaintiff’s suit.

          2.      The last three digits of Defendant’s driver’s license number are 055. The last three

      digits of defendant’s Social Security Number are 966.

          3.      Plaintiff asserts claims against Defendant for Violation of Title II of the Federal

      Civil Rights Act, Violation of the Fair Credit Reporting Act, Violations of the Texas

      Deceptive Trade Practices Act, Negligence, Gross Negligence, and Intentional Infliction of

      Emotional Distress.

          4.      Defendant is not a resident of Texas. Defendant resides in Maryland.
_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 1
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 36 of 331




        5.       Defendant attaches an affidavit to this special appearance to establish that he is

    not a resident of Texas. The affidavit is attached as Exhibit A and incorporated by reference

    into this motion.

        6.       Texas courts do not have jurisdiction over a nonresident defendant unless the

    nonresident defendant purposefully established “minimum contacts” with Texas. Burger

    King Corp. v. Rudzewicz, 471 U.S. 462, 474-76 (1985); Kelly v. Gen. Interior Constr., Inc.,

    301 S.W.3d 569, 575-76 (Tex. 2010).

         7.      In his petition, Plaintiff failed to plead any facts showing that Defendant is subject

    to the jurisdiction of a Texas court.

         8.      When pleading a case against a nonresident, a plaintiff must allege facts that, if

    true, would make the nonresident defendant subject to personal jurisdiction in a Texas court.

    See Paramount Pipe & Supply Co. v. Muhr, 749 S.W.2d 491, 496 (Tex. 1988); M.G.M.

    Grand Hotel, Inc. v. Castro, 8 S.W.3d 403, 408 n.2 (Tex. App.—Corpus Christi 1999, no

    pet.). The plaintiff has the initial burden of pleading sufficient allegations to bring a

    nonresident defendant within the provisions of the long-arm statute. Kelly, 301 S.W.3d at

    658. When a plaintiff fails to plead jurisdictional allegations that a nonresident defendant

    committed an act in Texas or that the defendant’s acts outside Texas had reasonably

    foreseeable consequences in Texas, the defendant can meet its burden to negate all potential

    bases of jurisdiction simply by presenting evidence that is a nonresident. Id. at 658-59; Frank

    A. Smith Sales, Inc. v. Atl. Aero, Inc., 31 S.W.3d 742, 746 (Tex. App.—Corpus Christi 2000,

    no pet.).

         9.      Defendant has met his burden of negating all potential bases of jurisdiction by his

    affidavit, Exhibit A, which establishes the fact that he is not a resident of Texas.

_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 2
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 37 of 331




        10.       For these reasons, defendant asks the Court to resolve the special appearance

    without a hearing, based on pleadings and the affidavits and any discovery on file, to sustain

    Defendant’s special appearance, and to sign a final judgment dismissing the Plaintiff’s suit as

    to this defendant.

        11.      The following Special Exceptions, Original Answer, Verified Denial, and

    Affirmative Defenses are submitted to the court subject to the Defendant’s Special

    Appearance.

                                      II. SPECIAL EXCEPTIONS

        11.      Defendant specially excepts to Plaintiffs failure to plead any facts regarding

    Defendant’s participation in any of the alleged causes of action.

        12.      Defendant specially excepts to Plaintiff’s failure to plead in his Original Petition a

    statement that the damages sought are within the jurisdictional limits of the Court, in violation

    of Tex. R. Civ. P. 47(b).

         13.     Defendant specially excepts to Plaintiff’s failure to plead in his Original Petition

the amount of and type or relief sought, pursuant to Tex. R. Civ. P. 47(c). Plaintiff is barred from

taking discovery in this matter by the Texas Rules of Civil Procedure 47 until such pleading defect

is corrected.

         14.     Regarding Plaintiff’s Second Cause of Action for “Violation of Fair Credit Billing

Act 15 USC 1601, Et Seq,” Defendant specially excepts to Plaintiff’s failure to specify which

provision(s) of the Fair Credit Billing Act (“FCBA”) Defendant allegedly violated and/or

sufficient facts to support any such violation. Defendant further specially excepts to Plaintiff’s

failure to plead facts showing that Defendant is considered a “creditor,” and thus that the FCBA

would apply to Defendant. Defendant also specially excepts to Plaintiff providing a “blank” for

_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 3
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 38 of 331




the amount that was allegedly charged to his Visa card instead of providing the amount. Without

such information, Defendant does not have fair and adequate notice of the allegations being

asserted against it in violation of Tex. R. Civ. P. 47(a).

        15.      Regarding Plaintiff’s Fourth Cause of Action for “Violation of the Texas Deceptive

Trade Practices – Consumer Protection Act,” (“DTPA”) Defendant specially excepts to Plaintiff’s

failure to plead which sections of Tex. Bus. & Com. Code § 1746 Defendant allegedly violated,

as well as his failure to plead facts showing that Defendant violated Tex. Bus. & Com. Code §

1746. Without such information, Defendant does not have fair and adequate notice of the

allegations being asserted against it in violation of Tex. R. Civ. P. 47(a).

        16.      As a result of these deficiencies in Plaintiff’s Original Petition, Defendant is unable

to prepare its defenses to Plaintiff’s claims against it. Defendant requests that the Court sustain

these Special Exceptions and strike Plaintiff’s claims against Defendant with prejudice.

Alternatively, Defendant requests that the Court order Plaintiff to replead with complete and

accurate facts so as to give Defendant fair and adequate notice of Plaintiff’s claims and to comply

with all rules of pleading, specifically, but without limitation, those found in Tex. R. Civ. P. 47.

                                      III.       GENERAL DENIAL

        17.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every claim, cause of action, and allegation in Plaintiff’s Original Petition and any

subsequent amendments or supplements thereto, and demands strict proof thereof in accordance

with the Constitution and laws of the State of Texas. Defendant reserves the right to file amended

pleadings in this matter in accordance with the Texas Rules of Civil Procedure.




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DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 4
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
          Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 39 of 331




                                      IV.        VERIFIED DENIAL

          18.    Bruce Haase became the CEO of Extended Stay, Inc. and ESA Management, LLC

on or around November 22, 2019. Mr. Haase was not the CEO on the date of the alleged events,

and therefore is not liable in his capacity as CEO for any of the events alleged in the Plaintiff’s

Original Petition.

          19.    In addition, parties are required under the DTPA and the FCBA to provide advance

notice of their claim and damages. See Tex. Bus. & Com. Code § 17.505(a); 15 U.S.C. § 1666(a).

Plaintiff did not provide Defendant with the required notices of his claims or damages under the

DTPA or FCBA prior to filing this lawsuit. Accordingly, pursuant to Rule 93(12) of the Texas

Rules of Civil Procedure, notice and proof of loss or claim for damage has not been given.

                                   V.    AFFIRMATIVE DEFENSES

          20.    Pursuant to Rule 94 of the Texas Rules of Civil Procedure, and without waiving its

Special Appearance, Special Exceptions, General Denial, or Verified Denial, Defendant asserts

the following affirmative defenses responsive to Plaintiff’s Original Petition and any subsequent

amendments or supplements thereto, and reserves the right to assert additional affirmative

defenses, special denials, and matters in avoidance as are disclosed during the course of litigation,

if any:

          a)     Plaintiff’s claims are barred in whole or in part because Plaintiff’s Original Petition

                 and each and every cause of action, claim, and allegation asserted therein fails to

                 state a claim upon which relief can be granted;

          b)     Plaintiff’s claims are barred in whole or in part because Plaintiff has failed to state

                 allegations in support of each element of its claims and/or has failed to state its

                 claims with sufficient particularity;

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DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 5
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 40 of 331




        c)       Plaintiff’s claims, other than his claim for breach of contract, are barred by the

                 statute of limitations;

        d)       Plaintiff’s claims are barred in whole or in part by the doctrines of estoppel, waiver,

                 and/or laches;

        e)       Plaintiff’s claims are barred in whole or in part, and/or Plaintiff is barred from

                 recovery from or relief against any defendant by the doctrine of unclean hands;

        f)       Plaintiff’s claims are barred in whole or in part because its alleged damages were

                 the result of intervening or superseding causes, events, factors, occurrences, or

                 conditions, which were in no way caused by Defendant and for which Defendant is

                 not liable;

        g)       Plaintiff’s claims are barred in whole or in part because Plaintiff failed to mitigate

                 his damages and/or risk, if any;

        h)       Plaintiff’s claims barred in whole or in part, or alternatively, his ability to recover

                 damages is limited or eliminated, because Plaintiff’s own actions and/or omissions

                 constitute negligence;

        i)       Plaintiff’s claims are barred, in whole or in part, by the doctrine of accord and

                 satisfaction;

        j)       Plaintiff’s breach of contract claim is barred because of a failure of consideration;

        k)       Defendant has denied any and all liability on its part to Plaintiff; however, in the

                 unlikely event the Court or jury should find that Defendant, along with any other

                 defendant in this case or subsequently added to this case, were jointly and severally

                 liable to Plaintiff, then Defendant is entitled to contribution among the defendants



_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 6
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 41 of 331




                 pursuant to Sections 33.013 and 33.015 of the Texas Civil Practice and Remedies

                 Code and any other applicable statute or common law rule;

        l)       In the event a settlement is or has been made by any alleged joint tortfeasor, then

                 Defendant is entitled to a full credit, offset, prorated reduction or percentage

                 reduction, based on the percentage of the fault or causation attributable to the

                 settling defendant herein, and Defendant makes known to the other parties and to

                 the Court that it will avail itself of its rights under Section 33.012(c) of the Texas

                 Civil Practice and Remedies Code as to any settlements that may be reached;

        m)       Defendant invokes its legal right to a reduction of any dollar verdict that may be

                 rendered in this case by credit for payments made by other persons/entities—

                 including all former, current, and future defendants, settling persons/entities, and/or

                 responsible third parties—as a result of Court or jury findings against other

                 persons/entities. Defendant reserves the right under Texas common law and under

                 the Texas Civil Practice and Remedies Code to submit issues against parties who

                 may be present in this case or absent from this case at the time the matter is passed

                 to the Court or jury for fact determinations. See, e.g., TEX. CIV. PRAC. & REM. CODE

                 chs. 32-33. To the extent another person/entity has entered or does enter into a

                 settlement with Plaintiff, Defendant affirmatively asserts the conduct of such

                 settling person/entity was a proximate cause, a new and independent cause, and a

                 sole proximate cause of the damages claimed by Plaintiff. Defendant further

                 requests that the Court submit said settling person’s/entity’s percentage of liability

                 to the Court or jury in order to determine comparative responsibility. See id. at §

                 33.001;

_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 7
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 42 of 331




        n)       Defendant expressly invokes the procedural provisions authorized by Chapter 41

                 of the Texas Civil Practice and Remedies Code; and

        o)       Defendant expressly invokes the procedural provisions authorized by Chapter 42

                 of the Texas Civil Practice and Remedies Code.

        21.      Defendant reserves the right to amend and/or supplement these affirmative defenses

as and when additional facts and information may become known to it and which may suggest that

such amendment or supplementation may be warranted.

                                               V.       PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant, Bruce N. Haase, prays that the

Court resolve his special appearance without a hearing, based on pleadings and the affidavit

attached as Exhibit A, to sustain Defendant’s special appearance, and to sign a final judgment

dismissing the Plaintiff’s suit.

        Alternatively, Defendant, Bruce N. Haase, prays that the Court, after notice and hearing or

trial, sustain Defendant’s special exceptions, deny Plaintiff’s Original Petition in its entirety, order

that Plaintiff take nothing by this suit, award Defendant its costs in this proceeding taxed against

Plaintiff, and award Defendant such other and further relief that it may show itself justly entitled

to receive in law and/or in equity.




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DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 8
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 43 of 331




DATE: February 18, 2020

                                                          Respectfully submitted,

                                                          HOLLAND & KNIGHT LLP

                                                          _/s/ Kevin A. Teters_________ .
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                                                          Fax: (214) 964-9501

                                                          ATTORNEYS FOR DEFENDANT
                                                          EXTENDED STAY AMERICA, INC.


                                      CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and correct copy of the foregoing Special

Exceptions, Original Answer, Verified Denials and Affirmative Defenses were served upon all

counsel and parties of record in accordance with the Texas Rules of Civil Procedure on February

18, 2020.

                                                          _/s/ Kevin A. Teters _________ .
                                                          Kevin A. Teters




_____________________________________________________________________________________________________________________
DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE, SPECIAL EXCEPTIONS,                                          PAGE | 9
ORIGINAL ANSWER, VERIFIED DENIAL AND AFFIRMATIVE DEFENSES
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 44 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 45 of 331




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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 46 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 47 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 48 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 49 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 50 of 331




                EXHIBIT C-8
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 51 of 331
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                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                              Chloe Jimenez

 RAVINDRA SINGH,                                         §           IN THE DISTRICT COURT
                                                         §
          Plaintiff,                                     §
                                                         §
 v.                                                      §
                                                         §
 EXTENDED STAY AMERICA, INC.,                            §           TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                           §
 BRIAN MORGAN, CRYSTAL                                   §
 TORRES, JON DOE, JANE DOE                               §
                                                         §
          Defendants.                                    §           53RD JUDICIAL DISTRICT


      DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,
      ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES


        COMES NOW Defendant, Extended Stay America, Inc. (“Defendant”), and files these

Special Exceptions, Original Answer, Verified Denials, and Affirmative Defenses to Plaintiff

Ravindra Singh’s (“Plaintiff’) Original Petition, and states as follows:

                                      I.    SPECIAL EXCEPTIONS

        1.       Defendant specially excepts to Plaintiff’s failure to plead in his Original Petition a

statement that the damages sought are within the jurisdictional limits of the Court, in violation of

Tex. R. Civ. P. 47(b).

        2.       Defendant specially excepts to Plaintiff’s failure to plead in his Original Petition

the amount of and type or relief sought, pursuant to Tex. R. Civ. P. 47(c). Plaintiff is barred from

taking discovery in this matter by the Texas Rules of Civil Procedure 47 until such pleading defect

is corrected.

        3.       Regarding Plaintiff’s Second Cause of Action for “Violation of Fair Credit Billing

Act 15 USC 1601, Et Seq,” Defendant specially excepts to Plaintiff’s failure to specify which

_____________________________________________________________________________________________________________________
DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 1
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 52 of 331




provision(s) of the Fair Credit Billing Act (“FCBA”) Defendant allegedly violated and/or

sufficient facts to support any such violation. Defendant further specially excepts to Plaintiff’s

failure to plead facts showing that Defendant is considered a “creditor,” and thus that the FCBA

would apply to Defendant. Defendant also specially excepts to Plaintiff providing a “blank” for

the amount that was allegedly charged to his Visa card instead of providing the amount. Without

such information, Defendant does not have fair and adequate notice of the allegations being

asserted against it in violation of Tex. R. Civ. P. 47(a).

        4.       Regarding Plaintiff’s Third Cause of Action for “Breach of Contract,” Defendant

specially excepts to Plaintiff’s failure to plead facts sufficient to provide Defendant with fair and

adequate notice of the contract Defendant had with Plaintiff and allegedly breached. Plaintiff also

does not plead any facts to show that he performed under the alleged contract. Without such

information, Defendant does not have fair and adequate notice of the allegations being asserted

against it in violation of Tex. R. Civ. P. 47(a).

        5.       Regarding Plaintiff’s Fourth Cause of Action for “Violation of the Texas Deceptive

Trade Practices – Consumer Protection Act,” (“DTPA”) Defendant specially excepts to Plaintiff’s

failure to plead which sections of Tex. Bus. & Com. Code § 1746 Defendant allegedly violated,

as well as his failure to plead facts showing that Defendant violated Tex. Bus. & Com. Code §

1746. Without such information, Defendant does not have fair and adequate notice of the

allegations being asserted against it in violation of Tex. R. Civ. P. 47(a).

         6.       Regarding Plaintiff’s Fifth Cause of Action for “Violation of Texas Innkeeper

Code,” (“TIC”) Defendant specially excepts to Plaintiff’s failure to plead any facts to support that

Defendant committed any violations of the TIC. Plaintiff recites certain requirements of the TIC,

but never alleges any facts that Defendant violated these or any other provisions of the TIC.

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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 2
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 53 of 331




Without such information, Defendant does not have fair and adequate notice of the allegations

being asserted against it in violation of Tex. R. Civ. P. 47(a).

        7.       As a result of these deficiencies in Plaintiff’s Original Petition, Defendant is unable

to prepare its defenses to Plaintiff’s claims against it. Defendant requests that the Court sustain

these Special Exceptions and strike Plaintiff’s claims against Defendant with prejudice.

Alternatively, Defendant requests that the Court order Plaintiff to replead with complete and

accurate facts so as to give Defendant fair and adequate notice of his claims and to comply with

all rules of pleading, specifically, but without limitation, those found in Tex. R. Civ. P. 47.

                                      II.        GENERAL DENIAL

        8.       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every claim, cause of action, and allegation in Plaintiff’s Original Petition and any

subsequent amendments or supplements thereto, and demands strict proof thereof in accordance

with the Constitution and laws of the State of Texas. Defendant reserves the right to file amended

pleadings in this matter in accordance with the Texas Rules of Civil Procedure.

                                     III.       VERIFIED DENIALS

        9.       Defendant has been misidentified by Plaintiff and is not a proper party to this action.

The party that manages the subject hotel is ESA Management, LLC, not Defendant. Plaintiff

asserts that Defendant is vicariously liable for the actions of certain of its employees, namely

defendants Murray Tyler, Brian Morgan, and Crystal Torres. At all times relevant to these

proceedings, these individuals were not employed by Defendant, but rather by the company ESA

Management, LLC. Plaintiff even states in paragraph 5 of his Original Petition that Defendant

Murray Tyler is an “agent, representative or employee of ESA INC or it subsidiary ESA

Management, LLC.” Defendant has never employed these individuals and therefore cannot be

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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 3
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 54 of 331




held vicariously liable for their actions. Accordingly, pursuant to Rule 93(4) of the Texas Rules

of Civil Procedure, there is a defect of parties.

        10.      In addition, parties are required under the DTPA and the FCBA to provide advance

notice of their claim and damages. See Tex. Bus. & Com. Code § 17.505(a); 15 U.S.C. § 1666(a).

Plaintiff did not provide Defendant with the required notices of his claims or damages under the

DTPA or FCBA prior to filing this lawsuit. Accordingly, pursuant to Rule 93(12) of the Texas

Rules of Civil Procedure, notice and proof of loss or claim for damage has not been given.

                                   IV. AFFIRMATIVE DEFENSES

        11.      Pursuant to Rule 94 of the Texas Rules of Civil Procedure, and without waiving its

Special Exceptions, General Denial or Verified Denials, Defendant asserts the following

affirmative defenses responsive to Plaintiff’s Original Petition and any subsequent amendments or

supplements thereto, and reserves the right to assert additional affirmative defenses, special

denials, and matters in avoidance as are disclosed during the course of litigation, if any:

        a)       Plaintiff’s claims are barred in whole or in part because Plaintiff’s Original Petition

                 and each and every cause of action, claim, and allegation asserted therein fails to

                 state a claim upon which relief can be granted;

        b)       Plaintiff’s claims are barred in whole or in part because Plaintiff has failed to state

                 allegations in support of each element of its claims and/or has failed to state its

                 claims with sufficient particularity;

        c)       Plaintiff’s claims, other than his claim for breach of contract, are barred by the

                 statute of limitations;

        d)       Plaintiff’s claims are barred in whole or in part by the doctrines of estoppel, waiver,

                 and/or laches;

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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 4
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 55 of 331




        e)       Plaintiff’s claims are barred in whole or in part, and/or Plaintiff is barred from

                 recovery from or relief against any defendant by the doctrine of unclean hands;

        f)       Plaintiff’s claims are barred in whole or in part because its alleged damages were

                 the result of intervening or superseding causes, events, factors, occurrences, or

                 conditions, which were in no way caused by Defendant and for which Defendant is

                 not liable;

        g)       Plaintiff’s claims are barred in whole or in part because Plaintiff failed to mitigate

                 his damages and/or risk, if any;

        h)       Plaintiff’s claims barred in whole or in part, or alternatively, his ability to recover

                 damages is limited or eliminated, because Plaintiff’s own actions and/or omissions

                 constitute negligence;

        i)       Plaintiff’s claims are barred, in whole or in part, by the doctrine of accord and

                 satisfaction;

        j)       Plaintiff’s breach of contract claim is barred because of a failure of consideration;

        k)       Defendant has denied any and all liability on its part to Plaintiff; however, in the

                 unlikely event the Court or jury should find that Defendant, along with any other

                 defendant in this case or subsequently added to this case, were jointly and severally

                 liable to Plaintiff, then Defendant is entitled to contribution among the defendants

                 pursuant to Sections 33.013 and 33.015 of the Texas Civil Practice and Remedies

                 Code and any other applicable statute or common law rule;

        l)       In the event a settlement is or has been made by any alleged joint tortfeasor, then

                 Defendant is entitled to a full credit, offset, prorated reduction or percentage

                 reduction, based on the percentage of the fault or causation attributable to the

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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 5
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 56 of 331




                 settling defendant herein, and Defendant makes known to the other parties and to

                 the Court that it will avail itself of its rights under Section 33.012(c) of the Texas

                 Civil Practice and Remedies Code as to any settlements that may be reached;

        m)       Defendant invokes its legal right to a reduction of any dollar verdict that may be

                 rendered in this case by credit for payments made by other persons/entities—

                 including all former, current, and future defendants, settling persons/entities, and/or

                 responsible third parties—as a result of Court or jury findings against other

                 persons/entities. Defendant reserves the right under Texas common law and under

                 the Texas Civil Practice and Remedies Code to submit issues against parties who

                 may be present in this case or absent from this case at the time the matter is passed

                 to the Court or jury for fact determinations. See, e.g., TEX. CIV. PRAC. & REM. CODE

                 chs. 32-33. To the extent another person/entity has entered or does enter into a

                 settlement with Plaintiff, Defendant affirmatively asserts the conduct of such

                 settling person/entity was a proximate cause, a new and independent cause, and a

                 sole proximate cause of the damages claimed by Plaintiff. Defendant further

                 requests that the Court submit said settling person’s/entity’s percentage of liability

                 to the Court or jury in order to determine comparative responsibility. See id. at §

                 33.001;

        n)       Defendant expressly invokes the procedural provisions authorized by Chapter 41

                 of the Texas Civil Practice and Remedies Code; and

        o)       Defendant expressly invokes the procedural provisions authorized by Chapter 42

                 of the Texas Civil Practice and Remedies Code.



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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 6
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 57 of 331




        12.      Defendant reserves the right to amend and/or supplement these affirmative defenses

as and when additional facts and information may become known to it and which may suggest that

such amendment or supplementation may be warranted.

                                               V.       PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant, Extended Stay America, Inc.,

prays that the Court, after notice and hearing or trial, sustain Defendant’s special exceptions, deny

Plaintiff’s Original Petition in its entirety, order that Plaintiff take nothing by this suit, award

Defendant its costs in this proceeding taxed against Plaintiff, and award Defendant such other and

further relief that it may show itself justly entitled to receive in law and/or in equity.


DATE: February 18, 2020

                                                          Respectfully submitted,

                                                          HOLLAND & KNIGHT LLP

                                                          __/s/ Kevin A. Teters__________ .
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                                                          ATTORNEYS FOR DEFENDANT
                                                          EXTENDED STAY AMERICA, INC.



_____________________________________________________________________________________________________________________
DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 7
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 58 of 331




                                      CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and correct copy of the foregoing Special

Exceptions, Original Answer, Verified Denials and Affirmative Defenses were served upon all

counsel and parties of record in accordance with the Texas Rules of Civil Procedure on February

18, 2020.

                                                           _/s/ Kevin A. Teters____________ .
                                                          Kevin A. Teters




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DEFENDANT EXTENDED STAY AMERICA, INC.’S SPECIAL EXCEPTIONS,                                                 PAGE | 8
ORIGINAL ANSWER, VERIFIED DENIALS AND AFFIRMATIVE DEFENSES
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 59 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 60 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 61 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 62 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 63 of 331




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            Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 64 of 331
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         7H[DV¶V IDLU QRWLFH VWDQGDUG DOVRUHTXLUHVWKDWDSHWLWLRQVHW IRUWK DOOHJDWLRQVVXSSRUWLQJ

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              EXHIBIT C-10
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$FFRUGLQJO\ DOO RI WKH FODLPV DQG FDXVHV RI DFWLRQ DVVHUWHG E\ 5DYLQGUD 6LQJK ³3ODLQWLII´ RU

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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 42887079
Status as of 05/11/2020 15:24:54 PM -05:00

Case Contacts

Name                     BarNumber   Email                       TimestampSubmitted     Status

Mary Caswell                         mary.caswell@hklaw.com      5/11/2020 3:16:33 PM   SENT

Kelly Franklin Bagnall   7375800     Kelly.Bagnall@hklaw.com     5/11/2020 3:16:33 PM   SENT

Kevin Teters             24075678    kevin.teters@hklaw.com      5/11/2020 3:16:33 PM   SENT

Morgan Kleoppel          24116625    morgan.kleoppel@hklaw.com   5/11/2020 3:16:33 PM   SENT

Fran Stowe                           fran.stowe@hklaw.com        5/11/2020 3:16:33 PM   SENT

David Schulte            24037456    David.Schulte@hklaw.com     5/11/2020 3:16:33 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 93 of 331




              EXHIBIT C-12
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                                                                                                                            District Clerk
                                                                                                                            Travis County
200 Crescent Court, Suite 1600 | Dallas, TX 75201 | T 214.964.9500 | F 214.964.9501                                      D-1-GN-19-008866
Holland & Knight LLP | www.hklaw.com                                                                                             Irene Silva

Kelly F. Bagnall
(214) 964-9462
kelly.bagnalll@hklaw.com




                                                        May 19, 2020


Via Electronic Filing
Hon. Scott H. Jenkins
53rd Judicial District Court
1000 Guadalupe, 4th Floor
Austin, TX 78701

          Re: Cause No. DC-1-GN-19-008866; Ravindra Singh v. Extended Stay America Inc.,
              Bruce N. Haase, Murray Tyler, Brian Morgan, Crystal Torres, Jon Doe, and Jane
              Doe, in the 53rd Judicial District Court of Travis County, Texas

Dear Hon. Judge Jenkins:

        On February 18, 2020, (i) Defendant Bruce N. Haase filed a special appearance, and
subject thereto, special exceptions and an answer, and (ii) Defendant Extended Stay
America, Inc. filed special exceptions and an answer. Briefs in support of the special
appearance and special exceptions were filed on May 4, 2020. An amended (corrected)
brief in support of the special exceptions was filed on May 11, 2020.

        We have been attempting to secure the availability of Plaintiff Ravindra Singh for
a hearing on these matters since April 2, 2020. In light of difficulties we experienced, we
contacted the Court via email on May 4 and May 15, 2020, requesting that these matters
be set for hearing. Ms. Gould advised that the issues would be decided on submission
after the parties agreed on a submission deadline, and that if the parties could not agree
on a deadline, the Court would set one for them. We have since attempted to reach an
agreement with Mr. Singh relative to a schedule for the special appearance and special
exceptions to be considered by the Court on submission.

      The parties have unfortunately not been able to come to an agreement on a
submission schedule, and Mr. Singh has refused to cooperate on a reasonable submission
deadline. Mr. Singh has requested that the submission date be delayed until 60 days after


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        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 95 of 331
53rd Judicial District Court
May 19, 2020
Page 2




Kevin Teters, one of Defendants’ attorneys, returns from paternity leave. This would
require Defendants to wait nearly 90 days before the Court addresses and resolves these
threshold matters of personal jurisdiction and the sufficiency of Mr. Singh’s pleading.
And, Mr. Teters’ absence is not an impediment to moving forward in this case;
Defendants have other counsel (including myself, as lead counsel) who are handling this
case in Mr. Teters’ absence. Also, Mr. Singh has expressed concerns about his ability
to adequately research his response under the current circumstances occasioned by
COVID-19, including library closures. We have reminded Mr. Singh that the Travis
County Law Library is providing free access to online research services through May 31,
2020 (https://lawlibrary.traviscountytx.gov/research-links).

       Defendants do not believe they should have to wait some 90 days for the Court to
resolve these matters. We respectfully request that the Court set Mr. Haase’s special
appearance and Defendants’ special exceptions for submission on a date within the next
two (2) weeks, or on such other date the Court deems appropriate under the
circumstances.

                                            Sincerely,




                                            Kelly F. Bagnall


cc:   Ravindra Singh (via e-service,
      email (excion_2000@yahoo.com),
      express mail, first class mail, and
      drop box)
               Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 96 of 331

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Associated Case Party: Extended Stay America, Inc.

Name             BarNumber    Email                      TimestampSubmitted     Status

David Schulte    24037456     David.Schulte@hklaw.com    5/19/2020 2:47:22 PM   SENT



Case Contacts

Name                     BarNumber    Email                       TimestampSubmitted     Status

Mary Caswell                          mary.caswell@hklaw.com      5/19/2020 2:47:22 PM   SENT

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Fran Stowe                            fran.stowe@hklaw.com        5/19/2020 2:47:22 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 97 of 331




              EXHIBIT C-13
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 99 of 331
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Ph.D.’s Motion to Compel Defendants Extended Stay America, Inc. and Bruce Haase to Disclose

Under Texas Rules of Civil Procedure 190.2(B)(6): (A) Identities of its Subsidiary ESA

Management, LLC, and its Corporate Officers; (B) Identities the General Manager, Assistant

Manager and District Manager of the Extended Stay America Hotel – Round Rock South; and (C)

Surveillance Footage of the Said Hotel Lobby and Official Investigation Report and Related Hotel

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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 124 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 125 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 126 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 133 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 134 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 135 of 331
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             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 137 of 331

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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 43413278
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Case Contacts

Name                     BarNumber    Email                       TimestampSubmitted    Status

Mary Caswell                          mary.caswell@hklaw.com      6/2/2020 3:03:41 PM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com     6/2/2020 3:03:41 PM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com      6/2/2020 3:03:41 PM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com   6/2/2020 3:03:41 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com        6/2/2020 3:03:41 PM   SENT

Ravindra Singh, PhD                   excion_2000@yahoo.com       6/2/2020 3:03:41 PM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted    Status

David Schulte   24037456      David.Schulte@hklaw.com    6/2/2020 3:03:41 PM   SENT
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Motion to Compel Defendants Extended Stay America, Inc. and Bruce Haase to Disclose Under

Texas Rules of Civil Procedure 190.2(B)(6): (A) Identities of its Subsidiary ESA Management,

LLC, and its Corporate Officers; (B) Identities the General Manager, Assistant Manager and



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            Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 141 of 331

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District Manager of the Extended Stay America Hotel – Round Rock South; and (C) Surveillance

Footage of the Said Hotel Lobby and Official Investigation Report and Related Hotel Policies and

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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 43413278
Status as of 06/02/2020 15:21:12 PM -05:00

Case Contacts

Name                     BarNumber    Email                       TimestampSubmitted    Status

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Kevin Teters             24075678     kevin.teters@hklaw.com      6/2/2020 3:03:41 PM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com   6/2/2020 3:03:41 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com        6/2/2020 3:03:41 PM   SENT

Ravindra Singh, PhD                   excion_2000@yahoo.com       6/2/2020 3:03:41 PM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted    Status

David Schulte   24037456      David.Schulte@hklaw.com    6/2/2020 3:03:41 PM   SENT
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 43660728
Status as of 06/11/2020 11:42:39 AM -05:00

Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    6/11/2020 11:32:33 AM   SENT



Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted      Status

Kevin Teters             24075678     kevin.teters@hklaw.com       6/11/2020 11:32:33 AM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      6/11/2020 11:32:33 AM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    6/11/2020 11:32:33 AM   SENT

Mary Caswell                          mary.caswell@hklaw.com       6/11/2020 11:32:33 AM   SENT

Fran Stowe                            fran.stowe@hklaw.com         6/11/2020 11:32:33 AM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted      Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     6/11/2020 11:32:33 AM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 151 of 331




               EXHIBIT C-17
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 152 of 331
                                                                                  6/18/2020 5:35 PM
                                                                                                   Velva L. Price
                                                                                                  District Clerk
                                                                                                  Travis County
                                 CAUSE NO. D-1-GN-19-008866                                    D-1-GN-19-008866
                                                                                                Jessica A. Limon

 RAVINDRA SINGH,                                     §                IN THE DISTRICT COURT
                                                     §
         Plaintiff,                                  §
                                                     §
 V.                                                  §
                                                     §
 EXTENDED STAY AMERICA, INC.,                        §                TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                       §
 BRIAN MORGAN, CRYSTAL TORRES,                       §
 JON DOE, and JANE DOE,                              §
                                                     §
         Defendants.                                 §               53RD JUDICIAL DISTRICT

            ORDER ON SPECIAL EXCEPTION AND MOTION FOR PROTECTIVE
                                 ORDER

       Having considered the Special Exception asserted in paragraph 2, citing TRCP 47 (c), of

Defendant Extended Stay America, Inc.’s Special Exceptions…filed on February 18, and having

also considered ESA Defendants’ Motion for Protective Order filed on June 2, the Court makes

the following rulings:

       This Special Exception is granted, and Plaintiff is ordered to Amend Plaintiff’s Petition to

comply with Texas Rules of Civil Procedure 47 (c). ESA Defendants’ Motion for Protective

Order is granted. It is ordered that Plaintiff may not conduct discovery until after Plaintiff has

amended Plaintiff’s Petition to comply with TRCP 47 (c).

       All other motions or requests for relief that are filed in this case should be set on the

central docket on or after June 29 in compliance with the Third Amended Emergency Order

Regarding COVID-19.

       Signed this 18th day of June, 2020.




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             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 153 of 331

                         Automated Certificate of eService
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The filer served this document via email generated by the efiling system
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Envelope ID: 43873529
Status as of 06/19/2020 12:02:49 PM -05:00

Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted     Status

David Schulte   24037456      David.Schulte@hklaw.com    6/18/2020 5:35:48 PM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted     Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     6/18/2020 5:35:48 PM   SENT



Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted     Status

Mary Caswell                          mary.caswell@hklaw.com       6/18/2020 5:35:48 PM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      6/18/2020 5:35:48 PM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       6/18/2020 5:35:48 PM   SENT
Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    6/18/2020 5:35:48 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com         6/18/2020 5:35:48 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 154 of 331




               EXHIBIT C-18
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Extended Stay America Inc.’s First Set of Interrogatories to Plaintiff Ravindra Singh



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            Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 156 of 331

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Plaintiff Ravindra Singh ³'RFXPHQW 5HTXHVWV´   Defendant Extended Stay America Inc.’s

First Requests for Admission to Plaintiff Ravindra Singh ³5HTXHVWV IRU $GPLVVLRQ´  DQG

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        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 159 of 331

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       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 160 of 331

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                                                /s/ Morgan J. Kleoppel
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                                                   /s/ Morgan J. Kleoppel
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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 44280310
Status as of 07/07/2020 10:37:04 AM -05:00

Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted       Status

Mary Caswell                          mary.caswell@hklaw.com       7/6/2020 4:06:33 PM      SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      7/6/2020 4:06:33 PM      SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       7/6/2020 4:06:33 PM      SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    7/6/2020 4:06:33 PM      SENT

Fran Stowe                            fran.stowe@hklaw.com         7/6/2020 4:06:33 PM      SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    7/6/2020 4:06:33 PM     SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted       Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     7/6/2020 4:06:33 PM      SENT
           Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 163 of 331

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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 165 of 331




               EXHIBIT C-19
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 166 of 331
                                                                                             7/16/2020 11:29 AM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                               Norma Ybarra

 RAVINDRA SINGH,                                             §                   IN THE DISTRICT COURT
                                                             §
          Plaintiff,                                         §
                                                             §
 V.                                                          §
                                                             §
 EXTENDED STAY AMERICA, INC.,                                §                   TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                               §
 BRIAN MORGAN, CRYSTAL TORRES,                               §
 JON DOE, and JANE DOE,                                      §
                                                             §
          Defendants.                                        §                   53rd JUDICIAL DISTRICT


            NOTICE OF HEARING ON DEFENDANT’S MOTION TO COMPEL




        PLEASE TAKE NOTICE that a hearing regarding Defendant’s Motion to Compel will

occur in the 53rd District Court of Travis County, Texas on August 6, 2020 at 9:00 a.m. Pursuant

to the Travis County Civil and Family Courts Third Amended Emergency Order Regarding

COVID-19, this hearing may be held by teleconference, videoconference, or in person at the

discretion of the Judge.




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S MOTION TO COMPEL                                                           PAGE | 1
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 167 of 331




                                                     Respectfully submitted,
                                                     HOLLAND & KNIGHT LLP

                                                      /s/ Morgan J. Kleoppel
                                                     Kevin A. Teters
                                                       Texas Bar No. 24075678
                                                       kevin.teters@hklaw.com
                                                     Kelly Franklin Bagnall
                                                       Texas Bar No. 07375800
                                                       kelly.bagnall@hklaw.com
                                                     David C. Schulte
                                                       Texas Bar No. 24037456
                                                       david.schulte@hklaw.com
                                                     Morgan J. Kleoppel
                                                       Texas Bar No. 24116625
                                                       morgan.kleoppel@hklaw.com

                                                     200 Crescent Court, Suite 1600
                                                     Dallas, Texas 75201
                                                     (214) 964-9500
                                                     (214) 964-9501 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS EXTENDED STAY
                                                     AMERICA, INC. AND BRUCE N. HAASE




                                      CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2020, a true and correct copy of this document was served
on Plaintiff, Ravindra Singh, via electronic mail, first-class mail, express mail, and drop box at the
following addresses:

        Ravindra Singh, Ph. D.
        P.O. Box 10526
        Austin, Texas 78766
        excion_2000@yahoo.com

                                                      /s/ Morgan J. Kleoppel
                                                     Morgan J. Kleoppel




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S MOTION TO COMPEL                                                           PAGE | 2
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 168 of 331

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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 44573590
Status as of 07/16/2020 13:28:04 PM -05:00

Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    7/16/2020 11:29:41 AM   SENT



Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted      Status

Kevin Teters             24075678     kevin.teters@hklaw.com       7/16/2020 11:29:41 AM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      7/16/2020 11:29:41 AM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    7/16/2020 11:29:41 AM   SENT

Mary Caswell                          mary.caswell@hklaw.com       7/16/2020 11:29:41 AM   SENT

Fran Stowe                            fran.stowe@hklaw.com         7/16/2020 11:29:41 AM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted      Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     7/16/2020 11:29:41 AM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 169 of 331




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                                                       7/21/2020 12:01 PM
                                                                         Velva L. Price
                                                                        District Clerk
                                                                        Travis County
                                                                     D-1-GN-19-008866
                                                                     Sandra Henriquez
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 171 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 172 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 173 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 174 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 175 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 176 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 177 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 178 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 179 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 180 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 181 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 182 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 183 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 184 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 185 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 186 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 187 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 188 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 189 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 190 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 191 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 192 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 193 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 196 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 197 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 199 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 201 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 204 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 205 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 206 of 331
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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 211 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 212 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 213 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 214 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 215 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 216 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 217 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 218 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 219 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 220 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 221 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 222 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 223 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 224 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 225 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 226 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 227 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 228 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 229 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 230 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 231 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 232 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 233 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 234 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 235 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 236 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 237 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 238 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 239 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 240 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 241 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 242 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 243 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 244 of 331
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 245 of 331

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Elanda Spencer on behalf of Kevin Teters
Bar No. 24075678
elanda.spencer@hklaw.com
Envelope ID: 44694978
Status as of 07/21/2020 21:56:24 PM -05:00

Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted      Status

Mary Caswell                          mary.caswell@hklaw.com       7/21/2020 12:01:25 PM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      7/21/2020 12:01:25 PM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       7/21/2020 12:01:25 PM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    7/21/2020 12:01:25 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com         7/21/2020 12:01:25 PM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    7/21/2020 12:01:25 PM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber    Email                     TimestampSubmitted      Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     7/21/2020 12:01:25 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 246 of 331




               EXHIBIT C-21
                   Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 247 of 331




 DUSTIN M. HOWELL                            200TH DISTRICT COURT                                 LATASHA BATES
          Judge                               HEMAN MARION SWEATT                             Official Court Reporter
       (512) 854-9306                                                                               (512) 854- 9325
                                            TRAVIS COUNTY COURTHOUSE
JONATHAN GLUSBAND                                   P. O. BOX 1748                          VICTORIA BENAVIDES
      Staff Attorney                            AUSTIN, TEXAS 78767                                  Court Clerk
      (512) 854-4916                                                                                (512) 854-5880

 STEPHANIE RINCON
 Court Operations Officer
      (512) 854-9306
                                                     August 6, 2020

        Morgan J. Kleoppel                                      Ravindra Singh, Ph.D
        Kelly Franklin Bagnall                                  Pro Se Plaintiff
        Kevin A. Teters                                         P.O. Box 10526
        David C. Schulte                                        Austin, Texas 78766
        Holland & Knight LLP                                    Via Email: excion_2000@yahoo.com
        200 Crescent Court, Suite 1600
        Dallas, Texas 75201
        Via Email: morgan.kleoppel@hklaw.com
        Via Email: kelly.bagnall@hklaw.com
        Via Email: kevin.teters@hklaw.com
        Via Email: david.schulte@hklaw.com



                   Re: Cause No. D-1-GN-19-008866; Ravindra Singh v. Extended Stay America,
                   Inc., et al.; in the 53rd District Court of Travis County, Texas


        Dear Counsel and Mr. Singh:

             I have considered on submission Defendant Extended Stay America, Inc.’s Motion to
        Compel and Recovery of Attorney’s Fees, and hereby make the following rulings:

                   x    Defendants’ Motion to Compel is granted in its entirety;

                   x    Mr. Singh shall provide the requested discovery by August 20, 2020; and

                   x    If Mr. Singh does not provide the requested discovery by August 20, 2020, the Court
                        will schedule a follow-up hearing on Defendant’s request for the Recovery of
                        Attorney’s Fees.
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 248 of 331

D-1-GN-19-008866
Page 2 of 2


        Now that you have my rulings, Defendants shall prepare an order in Word and submit it
for    signature    at    your    earliest    convenience     to   Jonathan  Glusband,    at
jonathan.glusband@traviscountytx.gov. Defendants shall copy Mr. Singh when submitting the
proposed order. If you have any questions, please contact Mr. Glusband.



                                          Sincerely,



                                          Dustin
                                          D  ti M.
                                                 M Howell
                                                    H    ll
                                                    th
                                          Judge, 200 District Court



DMH/sr/jlg
xc:  Ms. Velva L. Price, Travis County District Clerk
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 249 of 331




               EXHIBIT C-22
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 250 of 331




                                      CAUSE NO. D-1-GN-19-008866

 RAVINDRA SINGH,                                            §                      IN THE DISTRICT COURT
                                                            §
          Plaintiff,                                        §
                                                            §
 V.                                                         §
                                                            §
 EXTENDED STAY AMERICA, INC.,                               §                     TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                              §
 BRIAN MORGAN, CRYSTAL TORRES,                              §
 JON DOE, and JANE DOE,                                     §
                                                            §
          Defendants.                                       §                   200TH JUDICIAL DISTRICT

                       ORDER GRANTING ESA’S MOTION TO COMPEL

       Came on for consideration the motions of defendant Extended Stay America, Inc. (“ESA”)
to compel and for attorneys’ fees. The Court, having considered ESA’s motions, the response (if
any) of plaintiff Ravindra Singh (“Singh”), the record, and applicable authorities, concludes that
ESA’s motion to compel should be granted. It is therefore ordered:

             1. Defendant’s motion to compel is granted in its entirety;

             2. Mr. Singh shall respond, fully and completely, without objections to ESA’s
                Interrogatories, Document Requests, and Request for Disclosures by August 20,
                2020;

             3. Mr. Singh shall produce all documents responsive to ESA’s Document Requests by
                August 20, 2020; and

             4. In the event Mr. Singh does not provide the requested discovery by August 20,
                2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be scheduled
                with the Court.

        THE COURT SO ORDERS.

        Signed this 7th day of August, 2020.


                                                                Hon. Dustin M. Howell




_____________________________________________________________________________________________________________________
ORDER GRANTING ESA’S MOTION TO COMPEL                                                                    PAGE SOLO
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 251 of 331




               EXHIBIT C-23
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 252 of 331
                                                                                             8/24/2020 12:44 PM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                              Sandra Santos

 RAVINDRA SINGH,                                             §                   IN THE DISTRICT COURT
                                                             §
          Plaintiff,                                         §
                                                             §
 V.                                                          §
                                                             §
 EXTENDED STAY AMERICA, INC.,                                §                   TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                               §
 BRIAN MORGAN, CRYSTAL TORRES,                               §
 JON DOE, and JANE DOE,                                      §
                                                             §
          Defendants.                                        §                   53rd JUDICIAL DISTRICT


NOTICE OF HEARING ON DEFENDANT ESA’S MOTION FOR ATTORNEYS’ FEES
                RELATED TO ITS MOTION TO COMPEL


        By Order dated August 7, 2020, the Court granted the motion of defendant Extended Stay

America, Inc. (“ESA”) to compel in its entirely, ordering that plaintiff Ravindra Singh (“Mr.

Singh”) “shall respond, fully and completely, without objections to ESA’s Interrogatories,

Document Requests, and Request for Disclosure by August 20, 2020,” and that Mr. Singh “shall

produce all documents responsive to ESA’s Document Requests by August 20, 2020.” The Court

also ordered that, “[i]n the event Mr. Singh does not provide the requested discovery by August

20, 2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be scheduled with the

Court.” Mr. Singh did not provide any of the requested discovery, as ordered by the Court.

Accordingly,

        PLEASE TAKE NOTICE that a hearing regarding ESA’s motion for attorneys’ fees is

scheduled in the District Court of Travis County, Texas, on September 8, 2020 at 2:00 p.m.

Pursuant to the Travis County Civil and Family Courts Third Amended Emergency Order




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S FEES RELATED TO ITS MOTION TO COMPEL                                       PAGE | 1
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 253 of 331




Regarding COVID-19 this hearing may be held by teleconference, videoconference, or in person

at the discretion of the Judge.



DATE: August 24, 2020                                Respectfully submitted,


                                                     HOLLAND & KNIGHT LLP
                                                       /s/ Morgan J. Kleoppel
                                                     Kevin A. Teters
                                                        Texas Bar No. 24075678
                                                        kevin.teters@hklaw.com
                                                     Kelly Franklin Bagnall
                                                        Texas Bar No. 07375800
                                                        kelly.bagnall@hklaw.com
                                                     David C. Schulte
                                                        Texas Bar No. 24037456
                                                        david.schulte@hklaw.com
                                                     Morgan J. Kleoppel
                                                        Texas Bar No. 24116625
                                                        morgan.kleoppel@hklaw.com
                                                     HOLLAND & KNIGHT LLP
                                                     200 Crescent Court, Suite 1600
                                                     Dallas, Texas 75201
                                                     (214) 964-9500
                                                     (214) 964-9501 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS EXTENDED STAY
                                                     AMERICA, INC. AND BRUCE N. HAASE




                                      CERTIFICATE OF SERVICE

         I hereby certify that on August 24, 2020, a true and correct copy of this document was
served on Plaintiff, Ravindra Singh, via electronic mail, first-class mail, express mail, and drop box
at the following addresses:

        Ravindra Singh, Ph. D.
        P.O. Box 10526
        Austin, Texas 78766
        excion_2000@yahoo.com

                                                      /s/ Morgan J. Kleoppel
                                                     Morgan J. Kleoppel


_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S FEES RELATED TO ITS MOTION TO COMPEL                                       PAGE | 2
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 254 of 331

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
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Envelope ID: 45636157
Status as of 8/26/2020 1:56 PM CST

Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    8/24/2020 12:44:37 PM   SENT



Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted      Status

Kevin Teters             24075678     kevin.teters@hklaw.com       8/24/2020 12:44:37 PM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      8/24/2020 12:44:37 PM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    8/24/2020 12:44:37 PM   SENT

Mary Caswell                          mary.caswell@hklaw.com       8/24/2020 12:44:37 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com         8/24/2020 12:44:37 PM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted      Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     8/24/2020 12:44:37 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 255 of 331




               EXHIBIT C-24
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 256 of 331
                                                                                9/2/2020 5:14 PM
                                                                                                Velva L. Price
                                                                                               District Clerk
                                                                                               Travis County
                                CAUSE NO. D-1-GN-19-008866                                  D-1-GN-19-008866
                                                                                                    Irene Silva
 RAVINDRA SINGH,                                    §                 IN THE DISTRICT COURT
                                                    §
        Plaintiff,                                  §
                                                    §
 V.                                                 §
                                                    §
 EXTENDED STAY AMERICA, INC.,                       §                TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                      §
 BRIAN MORGAN, CRYSTAL TORRES,                      §
 JON DOE, and JANE DOE,                             §
                                                    §
        Defendants.                                 §               53RD JUDICIAL DISTRICT

             SUPPLEMENT TO ESA’S MOTION FOR ATTORNEYS’ FEES

       Defendant Extended Stay America, Inc. (“ESA”) files this supplement to its motion for the

recovery of attorneys’ fees against plaintiff Ravindra Singh (“Singh”).

       By Order dated August 7, 2020, the Court granted ESA’s motion to compel in its entirety,

ordering that Mr. Singh “shall respond, fully and completely, without objections to ESA’s

Interrogatories, Document Requests, and Request for Disclosures by August 20, 2020,” and that

Mr. Singh “shall produce all documents responsive to ESA’s Document Requests by August 20,

2020.” The Court also ordered that, “[i]n the event Mr. Singh does not provide the requested

discovery by August 20, 2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be

scheduled with the Court.” Mr. Singh did not comply with the Court’s order—he did not provide

any of the requested discovery or documents by August 20, as ordered by the Court.

       Accordingly, ESA files this supplement to its motion for attorneys’ fees to include a

declaration by ESA’s counsel, Kevin A. Teters, in support of ESA’s request for attorneys’ fees,

attached hereto as Exhibit A, together with a copy of Mr. Teters’ curriculum vitae (Exhibit A-1),

a courtesy copy of the Court’s August 7, 2020 order (Exhibit A-2), and redacted copies of Holland

& Knight LLP’s fee statements reflecting the reasonable and necessary fees and costs for the legal


                                                1
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 257 of 331




services rendered in connection with ESA’s motion to compel and the efforts to obtain Singh’s

overdue discovery responses (Exhibit A-3).

                                          CONCLUSION

        Due to Singh’s failures to comply with his discovery obligations and the Court’s August

7, 2020 order for Singh to produce discovery responses and documents, ESA respectfully requests

that the Court grant the motion for attorneys’ fees, and order that ESA have and recover from

Singh sanctions in the form of attorneys’ fees and expenses to compensate ESA for its time in

seeking Singh’s overdue discovery responses, preparing the motion to compel and appearing for

the hearing, and award ESA such other and further relief, general and special, at law and in equity,

to which it is justly entitled.

Date: September 2, 2020                                      Respectfully submitted,

                                                      /s/ Kevin A. Teters
                                                     Kevin A. Teters
                                                        Texas Bar No. 24075678
                                                        kevin.teters@hklaw.com
                                                     Kelly Franklin Bagnall
                                                        Texas Bar No. 07375800
                                                        kelly.bagnall@hklaw.com
                                                     David C. Schulte
                                                        Texas Bar No. 24037456
                                                        david.schulte@hklaw.com
                                                     Morgan J. Kleoppel
                                                        Texas Bar No. 24116625
                                                        morgan.kleoppel@hklaw.com
                                                     HOLLAND & KNIGHT LLP
                                                     200 Crescent Court, Suite 1600
                                                     Dallas, Texas 75201
                                                     (214) 964-9500
                                                     (214) 964-9501 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS EXTENDED
                                                     STAY AMERICA, INC. AND BRUCE N. HAASE




                                                 2
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 258 of 331




                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 9, 2020, a true and correct copy of this document was
served on Plaintiff, Ravindra Singh, via electronic mail, first-class mail, express mail, and drop box
at the following addresses:

       Ravindra Singh, Ph. D.
       P.O. Box 10526
       Austin, Texas 78766
       excion_2000@yahoo.com


                                                       /s/ Kevin A. Teters
                                                      Kevin A. Teters




                                                  3
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 259 of 331




                                CAUSE NO. D-1-GN-19-008866

RAVINDRA SINGH,                                   §                IN THE DISTRICT COURT
                                                  §
       Plaintiff,                                 §
                                                  §
V.                                                §
                                                  §
EXTENDED STAY AMERICA, INC.,                      §                 TRAVIS COUNTY, TEXAS
BRUCE N. HAASE, MURRAY TYLER,                     §
BRIAN MORGAN, CRYSTAL TORRES,                     §
JON DOE, and JANE DOE,                            §
                                                  §
       Defendants.                                §                 53rd JUDICIAL DISTRICT


                      DECLARATION OF KEVIN A. TETERS IN SUPPORT OF
                       MOTION TO COMPEL AND FOR ATTORNEYS’ FEES

       1.      My name is Kevin A. Teters. My date of birth is November 16, 1981, and my

work address is 200 Crescent Court, Suite 1600, Dallas, Texas 75201. I am more than 21 years

of age, am of sound mind, and am otherwise competent to make this declaration. I have never

been convicted of a felony or crime involving moral turpitude. I am counsel of record for

defendant Extended Stay America, Inc. (“ESA”) in this lawsuit. By virtue of that role (and for

the reasons discussed below), I have personal knowledge of the facts stated in this declaration,

and all statements contained herein are true and correct and are within my personal knowledge.

       2.      I am an attorney licensed to practice law in Texas. I am an associate in the law

firm of Holland & Knight LLP, 200 Crescent Court, Suite 1600, Dallas, Texas 75201. My

personal knowledge is based on my experience as a practicing attorney in the State of Texas, my

representation of ESA in this lawsuit, my involvement in billing the fees and costs in this action,

and my review of the fees and costs incurred by and billed to ESA in this action. I am

knowledgeable about the nature and extent of legal services performed for ESA in this matter.




                                                                                        Exhibit A
DECLARATION OF KEVIN A. TETERS— Page 1
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 260 of 331




       3.      I have been a licensed attorney in Texas since 2012. My legal practice focuses on

civil litigation and dispute resolution, including, among other things, hospitality litigation,

employment litigation, real estate litigation, and consumer finance litigation. I am a member in

good standing of the State Bar of Texas and am admitted to practice in all Texas state courts, as

well as the United States Courts of Appeals for the Fifth Circuit and the United States District

Courts for the Northern, Eastern, and Southern Districts of Texas. Attached as Exhibit A-1 to this

declaration is a true and correct copy of my curriculum vitae.

       4.      Plaintiff Ravindra Singh (“Mr. Singh”) filed suit against ESA and other

defendants on December 31, 2019. ESA served Mr. Singh with written discovery requests

(consisting of requests for production of documents, interrogatories, and requests for admission)

on May 22, 2020, to which he did not timely respond. On July 7, 2020, ESA filed a motion to

compel. By Order dated August 7, 2020, the Court granted ESA’s motion to compel in its

entirety, ordering that Mr. Singh “shall respond, fully and completely, without objections to

ESA’s Interrogatories, Document Requests, and Request for Disclosures by August 20, 2020,”

and that Mr. Singh “shall produce all documents responsive to ESA’s Document Requests by

August 20, 2020.” The Court also ordered that, “[i]n the event Mr. Singh does not provide the

requested discovery by August 20, 2020, a follow-up hearing on ESA’s motion for attorneys’

fees will be scheduled with the Court.” For the Court’s convenience, a true and correct copy of

the Court’s August 7, 2020 order is attached as Exhibit A-2. Mr. Singh did not comply with the

Court’s order—he did not provide any of the requested discovery or documents by August 20, as

ordered by the Court.

       5.      ESA has incurred various legal fees and costs in relation to having to seek, and

eventually file a motion to compel, the overdue discovery responses from Mr. Singh. These fees




DECLARATION OF KEVIN A. TETERS— Page 2
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 261 of 331




and costs include charges for communications with Mr. Singh attempting to elicit his discovery

responses, preparing the motion to compel, setting the motion for hearing, drafting a proposed

order for the motion, and attempting to communicate with Mr. Singh regarding his failure to

comply with the Court’s order to produce the requested discovery.

       6.      In the years I have practiced law, I have become personally familiar with the

usual and customary billing rates and fees for claims of the type raised by the parties in this

action. The discounted billing rates and fees charged by Holland & Knight LLP in this action are

reasonable and comparable to (if not lower than) the billing rates and fees customarily charged

by attorneys of equal or comparable experience in Travis County and Dallas County, Texas, at

law firms with comparable personnel and resources, and fees customarily awarded by Texas

courts. The discounted billing rates and fees charged by Holland & Knight LLP in this action are

consistent with (if not lower than) the usual and customary billing rates and fees charged by

attorneys of equal or comparable experience in Travis County and Dallas County, Texas, at law

firms with comparable personnel and resources.

       7.      I am familiar with the actual fees and costs that have been incurred by ESA in

connection with our legal services in this action. I have reviewed the fee statements of Holland &

Knight LLP in this action. True and correct copies of redacted fee statements reflecting the legal

services rendered and costs incurred in this action by Holland & Knight LLP timekeepers on

behalf of ESA from June 29, 2020 through August 31, 2020 (i.e., time entries related to seeking

and compelling Singh’s overdue discovery responses), and the fees and costs billed for the legal

services rendered during that period, are attached as Exhibit A-3 to this declaration. (The

redactions to the fee statements correspond to time entries that are excluded from the scope of




DECLARATION OF KEVIN A. TETERS— Page 3
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 262 of 331




Plaintiff’s motion for attorneys’ fees, i.e., attorneys’ fees incurred by ESA in this action for

which ESA is not seeking to be reimbursed through its motion for attorneys’ fees.)

       8.      In relation to ESA’s motion to compel and the efforts to obtain Singh’s overdue

discovery responses, Holland & Knight LLP timekeepers have performed work valued in excess

of $6,734.50—which amount already takes into account discounted hourly rates—not including

costs. Those discounted hourly rates demonstrate an effort to ensure that Holland & Knight LLP

charged a reasonable fee for the work performed on behalf of ESA in this action. In addition,

ESA has incurred costs of $6.66 related to its efforts to compel Singh’s overdue discovery

responses.

       9.      It is my opinion, based upon my education, training, and experience in the

practice of civil litigation in Texas and in connection with my representation of ESA in this

action, and based on my review of billing and time records in this action, that the reasonable and

necessary attorneys’ fees of Holland & Knight LLP related to ESA’s efforts to obtain Singh’s

overdue discovery responses are $6,734.50 (not including costs). As discussed above, this

amount already takes into account discounted hourly rates, as well as anticipated activity in this

action. The discounted hourly rates and fees charged by Holland & Knight LLP are reasonable

and customary in this area, and are comparable to (if not lower than) hourly rates and fees of

attorneys practicing in Texas with comparable skills and experience and at law firms with

comparable personnel and resources. The services provided were properly staffed, and the time

expended (or to be expended) was reasonable and necessary to seek from Singh, and to compel

Singh, to produce his discovery responses and documents in this action. In formulating this

opinion, I considered the factors set forth in Rule 1.04 of the Texas Disciplinary Rules of

Professional Conduct, including the time and labor required; the novelty and difficulty of the




DECLARATION OF KEVIN A. TETERS— Page 4
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 263 of 331




questions involved, and the skill required to perform the legal services properly; the likelihood

that the acceptance of the engagement would preclude other employment by the lawyers

involved; the fee customarily charged in the locality for similar legal services; the amount

involved and the results obtained; the time limitations imposed by the client or by the

circumstances; the nature and length of the professional relationship with the client; and the

experience, reputation, and ability of the lawyers performing the services. I also considered the

related factors in Arthur Anderson & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex.

1997): (1) the services rendered; (2) the time and labor required; (3) the skill required to perform

the legal services properly; (4) the fees customarily charged for similar legal services; (5) the

time limitations imposed; (6) the nature and length of the professional relationship; and (7) the

experience and ability of the lawyer performing the services.

       10.     In sum, in view of the factors identified above, the fees of Holland & Knight LLP

related to its efforts to seek and compel discovery responses from Singh are reasonable and

necessary to obtain the relief requested in this action. Moreover, given the nature of the claims

asserted by the parties, the results achieved, and the time frame in which the services were

provided, Holland & Knight LLP properly staffed this case and the time expended was

reasonable and necessary. It is my opinion that in view of the skill, reputation, and experience of

the attorneys and other timekeepers who performed the above-described services, the discounted

rates charged are reasonable rates that would be charged for their services in this area by

attorneys and other timekeepers with comparable skills and experience, at law firms with

comparable personnel and resources, and the hours billed are a reasonable amount of time to

perform the legal work involved in the representation.




DECLARATION OF KEVIN A. TETERS— Page 5
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 264 of 331




        11.     It is further my opinion that the costs ESA incurred related to its efforts to seek

and compel discovery responses from Singh, which total $6.66, were reasonable and necessary to

obtain the relief requested in this action.



        I declare under penalty of perjury that the foregoing is true and correct.



        Executed in Rockwall, Rockwall County, State of Texas, on this 2nd day of September,
2020.




                                                                                                  .
                                                      Kevin A. Teters




DECLARATION OF KEVIN A. TETERS— Page 6
                     Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 265 of 331




                                                  Kevin A. Teters
                                                  ASSOCIATE

                                                  Kevin.Teters@hklaw.com

                                                  Dallas
                                                  214.964.9408

                                                  PRACTICE
                                                  Litigation and Dispute Resolution



Kevin A. Teters is a Dallas litigation attorney that focuses his practice on commercial litigation matters, representing
startup businesses to Fortune 500 companies in a broad range of disputes including breach of contract, theft of trade
secrets, workplace injuries, commercial collections, consumer financial services, breaches of fiduciary duties,
construction liens, evictions and vendor disagreements. He is an experienced litigator in federal and state employment
agreement matters regarding non-competition, non-solicitation, non-interference, confidentiality and
non-disparagement clauses.
In addition, Mr. Teters has authored numerous successful appellate briefs to the Texas Courts of Appeal in various
mortgage lending and breach of employment agreement actions. He also regularly handles case dispositive briefings,
researches nuanced legal issues, and counsels on complex motions and briefs such as motions to recuse and
mandamus briefs.


Experience
   Employment Litigation: As a member of a multilawyer team, obtained a guilty verdict against all defendants and a
   100 percent damages award for one of the largest healthcare staffing companies in the United States during a
   week-and-a-half long federal jury trial involving its claims against two former employees and a competitor for theft of
   trade secrets, violations of the Computer Fraud and Abuse Act, harmful access by computer, conversion, violations
   of the Texas Theft Liability Act, breach of contract, breach of fiduciary duty, tortious interference, and aiding and
   abetting
   Hospitality Litigation: Representation of hospitality clients in matters involving breach of contract, evictions, theft of
   trade secrets, promissory estoppel, suits on sworn account, disputes with vendors, abandonment of property and
   guest complaints
   Appellate: Lead draftsperson on numerous appellate briefs to the Texas Courts of Appeal in various breach of
   employment agreement and mortgage lending actions, including three successful petitions for writs of mandamus
   Employment Litigation: Lead associate representing national temporary medical staffing company in multimillion
   dollar action against competitor and 11 former executives and employees involving claims for breach of
   non-competition, non-disclosure, non-solicitation and non-interference contract provisions, as well as theft of trade
   secrets, conversion, tortious interference, violations of the Texas Theft Liability Act, unfair competition, unjust
   enrichment, breach of fiduciary duty, conspiracy, and aiding and abetting
   Employment and Mortgage Litigation: Lead draftsperson on more than a dozen motions for summary judgment in
   various breach of employment agreement and mortgage lending actions

                                                                                                                 Exhibit A-1
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                     Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 266 of 331




   Employment and Mortgage Litigation: First chair representation of clients in three depositions, as well as second
   chair representation in six others, for various breach of employment agreement and mortgage lending actions
   Consumer Finance Litigation: Representation of residential mortgage lenders/servicers in consumer finance
   matters involving disputes regarding the Fair Debt Collections Practice Act (FDCPA); Texas Debt Collection Act
   (TDCA); Texas Deceptive Trade Practices Act (DTPA); unfair trade practice statutes; common law unreasonable
   collection efforts; fraud; fraudulent misrepresentation; promissory estoppel; pooling and servicing agreement
   violations; failed loan modification efforts; predatory lending; violations of home equity lending laws and reverse
   mortgage regulations; and other causes of action typically brought in mortgage litigation and debt collection matters
   General Litigation: Representation of clients in various industries in matters involving product defects, workplace
   injuries, commercial collections, confirmation of bankruptcy plans, construction liens and contract disputes


Credentials
Education

   Southern Methodist University Dedman School of Law, J.D., honors
   Texas A&M University, BBA, Business Administration, magna cum laude

Bar Admissions/Licenses

   Texas

Court Admissions

   U.S. District Court for the Northern District of Texas
   U.S. District Court for the Southern District of Texas
   U.S. District Court for the Eastern District of Texas

Memberships

   Texas Aggie Bar Association

Honors & Awards

   Editor, SMU Law Review, 2010-2012
   Southern Methodist University Barristers, 2010-2012
   Most Outstanding Member of Class, Southern Methodist University, 2010


Publications
   Successor Employers' Obligations Under a Pre-existing Collective Bargaining Agreement: The Second Circuit
   Misinterprets Supreme Court Decisions and Sets a Harmful Precedent, Journal of Air Law and Commerce, Winter
   2011


Speaking Engagements
   Expected Impact of the Trump Administration on Business, NACM Southwest Hotel Credit Group, March 23, 2017


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        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 267 of 331




                                      CAUSE NO. D-1-GN-19-008866

 RAVINDRA SINGH,                                            §                      IN THE DISTRICT COURT
                                                            §
          Plaintiff,                                        §
                                                            §
 V.                                                         §
                                                            §
 EXTENDED STAY AMERICA, INC.,                               §                     TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                              §
 BRIAN MORGAN, CRYSTAL TORRES,                              §
 JON DOE, and JANE DOE,                                     §
                                                            §
          Defendants.                                       §                   200TH JUDICIAL DISTRICT

                       ORDER GRANTING ESA’S MOTION TO COMPEL

       Came on for consideration the motions of defendant Extended Stay America, Inc. (“ESA”)
to compel and for attorneys’ fees. The Court, having considered ESA’s motions, the response (if
any) of plaintiff Ravindra Singh (“Singh”), the record, and applicable authorities, concludes that
ESA’s motion to compel should be granted. It is therefore ordered:

             1. Defendant’s motion to compel is granted in its entirety;

             2. Mr. Singh shall respond, fully and completely, without objections to ESA’s
                Interrogatories, Document Requests, and Request for Disclosures by August 20,
                2020;

             3. Mr. Singh shall produce all documents responsive to ESA’s Document Requests by
                August 20, 2020; and

             4. In the event Mr. Singh does not provide the requested discovery by August 20,
                2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be scheduled
                with the Court.

        THE COURT SO ORDERS.

        Signed this 7th day of August, 2020.


                                                                Hon. Dustin M. Howell



                                                                                                         Exhibit A-2


_____________________________________________________________________________________________________________________
ORDER GRANTING ESA’S MOTION TO COMPEL                                                                    PAGE SOLO
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 268 of 331




                                                                Exhibit A-3
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 269 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 270 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 271 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 272 of 331
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 273 of 331
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 274 of 331

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Mary Caswell on behalf of Kevin Teters
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mary.caswell@hklaw.com
Envelope ID: 45933633
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Case Contacts

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Mary Caswell                          mary.caswell@hklaw.com       9/2/2020 5:14:40 PM      SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      9/2/2020 5:14:40 PM      SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       9/2/2020 5:14:40 PM      SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    9/2/2020 5:14:40 PM      SENT

Fran Stowe                            fran.stowe@hklaw.com         9/2/2020 5:14:40 PM      SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    9/2/2020 5:14:40 PM     SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted       Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     9/2/2020 5:14:40 PM      SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 275 of 331




               EXHIBIT C-25
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 276 of 331
                                                                                    9/3/2020 10:38 AM
                                                                                                     Velva L. Price
                                                                                                    District Clerk
                                                                                                    Travis County
                                  CAUSE NO. D-1-GN-19-008866                                     D-1-GN-19-008866
                                                                                                         Irene Silva

 RAVINDRA SINGH,                                       §                   IN THE DISTRICT COURT
                                                       §
         Plaintiff,                                    §
                                                       §
 V.                                                    §
                                                       §
 EXTENDED STAY AMERICA, INC.,                          §                  TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                         §
 BRIAN MORGAN, CRYSTAL TORRES,                         §
 JON DOE, and JANE DOE,                                §
                                                       §
         Defendants.                                   §                  53RD JUDICIAL DISTRICT

                    ESA’S AMENDED CERTIFICATE OF SERVICE
             FOR ITS SUPPLEMENT TO MOTION FOR ATTORNEYS’ FEES

        Defendant Extended Stay America, Inc. (“ESA”) files the following amended certificate

of service related to its supplement to its motion for the recovery of attorneys’ fees against plaintiff

Ravindra Singh (“Singh”):

                           AMENDED CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of ESA’s supplement to its motion for the
recovery of attorneys’ fees against plaintiff Ravindra Singh was served on Singh on September 2,
2020 via the court’s electronic notification system, email and drop box, and on September 3, 2020
via first-class mail and express mail, at the following addresses:

        Ravindra Singh, Ph. D.
        P.O. Box 10526
        Austin, Texas 78766
        excion_2000@yahoo.com

                                                            /s/ Kevin A. Teters
                                                           Kevin A. Teters




                                                   1
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 277 of 331




Date: September 3, 2020                                        Respectfully submitted,

                                                        /s/ Kevin A. Teters
                                                       Kevin A. Teters
                                                          Texas Bar No. 24075678
                                                          kevin.teters@hklaw.com
                                                       Kelly Franklin Bagnall
                                                          Texas Bar No. 07375800
                                                          kelly.bagnall@hklaw.com
                                                       David C. Schulte
                                                          Texas Bar No. 24037456
                                                          david.schulte@hklaw.com
                                                       Morgan J. Kleoppel
                                                          Texas Bar No. 24116625
                                                          morgan.kleoppel@hklaw.com
                                                       HOLLAND & KNIGHT LLP
                                                       200 Crescent Court, Suite 1600
                                                       Dallas, Texas 75201
                                                       (214) 964-9500
                                                       (214) 964-9501 (facsimile)

                                                       ATTORNEYS FOR DEFENDANTS EXTENDED
                                                       STAY AMERICA, INC. AND BRUCE N. HAASE




                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 3, 2020, a true and correct copy of this document was
served on Plaintiff, Ravindra Singh, via the court’s electronic notification system, email, first-class
mail, express mail, and drop box at the following addresses:

       Ravindra Singh, Ph. D.
       P.O. Box 10526
       Austin, Texas 78766
       excion_2000@yahoo.com


                                                        /s/ Kevin A. Teters
                                                       Kevin A. Teters




                                                  2
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 278 of 331

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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 45945535
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Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted     Status

Mary Caswell                          mary.caswell@hklaw.com       9/3/2020 10:38:15 AM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      9/3/2020 10:38:15 AM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       9/3/2020 10:38:15 AM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    9/3/2020 10:38:15 AM   SENT

Fran Stowe                            fran.stowe@hklaw.com         9/3/2020 10:38:15 AM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted     Status

David Schulte   24037456      David.Schulte@hklaw.com    9/3/2020 10:38:15 AM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted     Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     9/3/2020 10:38:15 AM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 279 of 331




               EXHIBIT C-26
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 280 of 331
                                                                                             9/10/2020 11:02 AM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                                   Irene Silva

 RAVINDRA SINGH,                                             §                   IN THE DISTRICT COURT
                                                             §
          Plaintiff,                                         §
                                                             §
 V.                                                          §
                                                             §
 EXTENDED STAY AMERICA, INC.,                                §                   TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                               §
 BRIAN MORGAN, CRYSTAL TORRES,                               §
 JON DOE, and JANE DOE,                                      §
                                                             §
          Defendants.                                        §                   53rd JUDICIAL DISTRICT


       AMENDED NOTICE OF HEARING ON DEFENDANT ESA’S MOTION FOR
           ATTORNEYS’ FEES RELATED TO ITS MOTION TO COMPEL


        By Order dated August 7, 2020, the Court granted the motion of defendant Extended Stay

America, Inc. (“ESA”) to compel in its entirely, ordering that plaintiff Ravindra Singh (“Mr.

Singh”) “shall respond, fully and completely, without objections to ESA’s Interrogatories,

Document Requests, and Request for Disclosure by August 20, 2020,” and that Mr. Singh “shall

produce all documents responsive to ESA’s Document Requests by August 20, 2020.” The Court

also ordered that, “[i]n the event Mr. Singh does not provide the requested discovery by August

20, 2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be scheduled with the

Court.” Mr. Singh did not provide any of the requested discovery, as ordered by the Court.

Accordingly,

        PLEASE TAKE NOTICE that a hearing regarding ESA’s motion for attorneys’ fees is

scheduled in the District Court of Travis County, Texas, on September 23, 2020 at 9:00 a.m.

Pursuant to the Travis County Civil and Family Courts Third Amended Emergency Order




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S FEES RELATED TO ITS MOTION TO COMPEL                                       PAGE | 1
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 281 of 331




Regarding COVID-19 this hearing may be held by teleconference, videoconference, or in person

at the discretion of the Judge.



DATE: September 10, 2020                              Respectfully submitted,


                                                     HOLLAND & KNIGHT LLP
                                                       /s/ Morgan J. Kleoppel
                                                     Kevin A. Teters
                                                        Texas Bar No. 24075678
                                                        kevin.teters@hklaw.com
                                                     Kelly Franklin Bagnall
                                                        Texas Bar No. 07375800
                                                        kelly.bagnall@hklaw.com
                                                     David C. Schulte
                                                        Texas Bar No. 24037456
                                                        david.schulte@hklaw.com
                                                     Morgan J. Kleoppel
                                                        Texas Bar No. 24116625
                                                        morgan.kleoppel@hklaw.com
                                                     HOLLAND & KNIGHT LLP
                                                     200 Crescent Court, Suite 1600
                                                     Dallas, Texas 75201
                                                     (214) 964-9500
                                                     (214) 964-9501 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS EXTENDED STAY
                                                     AMERICA, INC. AND BRUCE N. HAASE




                                      CERTIFICATE OF SERVICE

         I hereby certify that on September 10, 2020, a true and correct copy of this document was
served on Plaintiff, Ravindra Singh, via electronic mail, first-class mail, express mail, and drop box
at the following addresses:

        Ravindra Singh, Ph. D.
        P.O. Box 10526
        Austin, Texas 78766
        excion_2000@yahoo.com

                                                      /s/ Morgan J. Kleoppel
                                                     Morgan J. Kleoppel


_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S FEES RELATED TO ITS MOTION TO COMPEL                                       PAGE | 2
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 282 of 331

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Mary Caswell on behalf of Kevin Teters
Bar No. 24075678
mary.caswell@hklaw.com
Envelope ID: 46111192
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Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted      Status

Mary Caswell                          mary.caswell@hklaw.com       9/10/2020 11:02:13 AM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      9/10/2020 11:02:13 AM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       9/10/2020 11:02:13 AM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    9/10/2020 11:02:13 AM   SENT

Fran Stowe                            fran.stowe@hklaw.com         9/10/2020 11:02:13 AM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted      Status

David Schulte   24037456      David.Schulte@hklaw.com    9/10/2020 11:02:13 AM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted      Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     9/10/2020 11:02:13 AM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 283 of 331




               EXHIBIT C-27
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 284 of 331
                                                                                              9/23/2020 1:58 PM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                     CAUSE NO. D-1-GN-19-008866                                            D-1-GN-19-008866
                                                                                                            Jessica A. Limon

 RAVINDRA SINGH,                                             §                   IN THE DISTRICT COURT
                                                             §
          Plaintiff,                                         §
                                                             §
 V.                                                          §
                                                             §
 EXTENDED STAY AMERICA, INC.,                                §                   TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                               §
 BRIAN MORGAN, CRYSTAL TORRES,                               §
 JON DOE, and JANE DOE,                                      §
                                                             §
          Defendants.                                        §                   53rd JUDICIAL DISTRICT


  NOTICE OF HEARING ON DEFENDANTS’ SPECIAL EXCEPTIONS AND BRUCE
                   HAASE’S SPECIAL APPEARANCE




        PLEASE TAKE NOTICE that a hearing regarding Defendants’ Special Exceptions and

Bruce N. Haase’s Special Appearance will occur in the 53rd District Court of Travis County, Texas

on October 6, 2020 at 2:00 p.m. Pursuant to the Travis County Civil and Family Courts Third

Amended Emergency Order Regarding COVID-19, this hearing may be held by teleconference,

videoconference, or in person at the discretion of the Judge.




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S SPECIAL EXCEPTIONS AND BRUCE N. HAASE’S SPECIAL
APPEARANCE                                                                                                  PAGE | 1
         Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 285 of 331




                                                     Respectfully submitted,
                                                     HOLLAND & KNIGHT LLP

                                                      /s/ Morgan J. Kleoppel
                                                     Kevin A. Teters
                                                       Texas Bar No. 24075678
                                                       kevin.teters@hklaw.com
                                                     Kelly Franklin Bagnall
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                                                       kelly.bagnall@hklaw.com
                                                     David C. Schulte
                                                       Texas Bar No. 24037456
                                                       david.schulte@hklaw.com
                                                     Morgan J. Kleoppel
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                                                     (214) 964-9501 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS EXTENDED STAY
                                                     AMERICA, INC. AND BRUCE N. HAASE




                                      CERTIFICATE OF SERVICE

         I hereby certify that on September 23, 2020, a true and correct copy of this document was
served on Plaintiff, Ravindra Singh, via electronic mail, first-class mail, express mail, and drop box
at the following addresses:

        Ravindra Singh, Ph. D.
        P.O. Box 10526
        Austin, Texas 78766
        excion_2000@yahoo.com

                                                      /s/ Morgan J. Kleoppel
                                                     Morgan J. Kleoppel




_____________________________________________________________________________________________________________________
NOTICE OF HEARING ON DEFENDANT’S SPECIAL EXCEPTIONS AND BRUCE N. HAASE’S SPECIAL
APPEARANCE                                                                                                  PAGE | 2
             Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 286 of 331

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Mary Caswell on behalf of Kevin Teters
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mary.caswell@hklaw.com
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Case Contacts

Name                     BarNumber    Email                        TimestampSubmitted     Status

Mary Caswell                          mary.caswell@hklaw.com       9/23/2020 1:58:35 PM   SENT

Kelly Franklin Bagnall   7375800      Kelly.Bagnall@hklaw.com      9/23/2020 1:58:35 PM   SENT

Kevin Teters             24075678     kevin.teters@hklaw.com       9/23/2020 1:58:35 PM   SENT

Morgan Kleoppel          24116625     morgan.kleoppel@hklaw.com    9/23/2020 1:58:35 PM   SENT

Fran Stowe                            fran.stowe@hklaw.com         9/23/2020 1:58:35 PM   SENT



Associated Case Party: Extended Stay America, Inc.

Name            BarNumber     Email                      TimestampSubmitted     Status

David Schulte   24037456      David.Schulte@hklaw.com    9/23/2020 1:58:35 PM   SENT



Associated Case Party: Ravindra Singh

Name                     BarNumber Email                        TimestampSubmitted     Status

Ravindra Singh, PhD                   excion_2000@yahoo.com     9/23/2020 1:58:35 PM   SENT
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 287 of 331




               EXHIBIT C-28
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 288 of 331




                                      CAUSE NO. D-1-GN-19-008866

 RAVINDRA SINGH,                                            §                      IN THE DISTRICT COURT
                                                            §
          Plaintiff,                                        §
                                                            §
 V.                                                         §
                                                            §
 EXTENDED STAY AMERICA, INC.,                               §                     TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                              §
 BRIAN MORGAN, CRYSTAL TORRES,                              §
 JON DOE, and JANE DOE,                                     §
                                                            §
          Defendants.                                       §                   200TH JUDICIAL DISTRICT

               ORDER GRANTING ESA’S MOTION FOR ATTORNEY’S FEES

        On September 23, 2020, this Court conducted a Zoom hearing, pursuant to existing
emergency orders, regarding Defendant Extended Stay America, Inc.’s (“ESA”) Motion for
Attorney’s Fees (“motion”). Counsel for ESA appeared for the hearing and presented the motion.
Plaintiff Ravindra Singh (“Singh”) did not appear for the hearing. On September 22, 2020, the
Court Clerk provided Singh with instructions to attend the hearing via Zoom or, alternatively, via
telephone if he did not have internet and/or videoconferencing capabilities. Singh responded to
this message stating that he would not be attending the hearing. Singh also did not file a response
to the motion with the District Clerk prior to the hearing. After considering ESA’s motion, the
evidence, the record, applicable authorities, and ESA’s counsel’s presentation of the motion during
the hearing, the Court finds as follows:

        By Order dated August 7, 2020, the Court granted ESA’s motion to compel in its entirety,
ordering that Singh “shall respond, fully and completely, without objections to ESA’s
Interrogatories, Document Requests, and Request for Disclosures by August 20, 2020,” and that
Mr. Singh “shall produce all documents responsive to ESA’s Document Requests by August 20,
2020.” The Court also ordered that, “[i]n the event Mr. Singh does not provide the requested
discovery by August 20, 2020, a follow-up hearing on ESA’s motion for attorneys’ fees will be
scheduled with the Court.”

       Mr. Singh did not comply with the Court’s order—he did not provide any of the requested
discovery or documents by August 20, 2020, as ordered by the Court. Accordingly, ESA scheduled
with the Court a September 23, 2020 hearing on ESA’s motion for attorneys’ fees. And on
September 2, 2020, ESA filed a supplement to its motion, proving up the reasonableness and
necessity of the attorneys’ fees incurred by ESA relative to the subject discovery dispute.

        The Court, having considered ESA’s motion and supplement thereto, including without
limitation the declaration of Kevin A. Teters in support of such motion and the attorneys’ fees bills
attached to such declaration, the Court’s August 7, 2020 order, the evidence, the record, and
applicable authorities, concludes:

_____________________________________________________________________________________________________________________
ORDER GRANTING ESA’S MOTION FOR ATTORNEYS’ FEES                                                              PAGE 1
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 289 of 331




        (1)      Singh did not comply with the Court’s August 7, 2020 order to produce full and
                 complete responses to ESA’s discovery requests by August 20, 2020. Singh did
                 not produce any responses or documents to ESA prior to the August 20, 2020
                 deadline imposed by the Court or prior to the September 8, 2020 hearing.

        (2)      Singh’s conduct is in violation of the Texas Rules of Civil Procedure and this
                 Court’s August 7, 2020 order. Good cause therefore exists for the imposition of
                 sanctions against Singh in the form of an award of attorneys’ fees and costs to ESA.
                 The Court has considered that such sanctions are directed against Singh’s abuses of
                 the discovery process and his violation of this Court’s August 7, 2020 order, and
                 that such sanctions serve to remedy the prejudice Singh’s conduct has caused ESA.
                 Such sanctions are not excessive, but rather are tied directly to Singh’s abuses of
                 the discovery process and his violation of this Court’s August 7, 2020 order. No
                 other less onerous sanction would suffice to induce Singh’s compliance with ESA’s
                 discovery requests, the Texas Rules of Civil Procedure, and the Court’s August 7,
                 2020 order. Such sanctions are no more severe than necessary to satisfy their
                 legitimate purposes. Also, the Court has considered the availability of lesser or less
                 stringent sanctions and whether such lesser or less stringent sanctions would fully
                 promote compliance, but the Court has determined—based not only on Singh’s
                 failure to respond to ESA’s discovery requests (which prompted ESA’s motion to
                 compel), but also on Singh’s failure to comply with the Court’s August 7, 2020
                 order—that no lesser or less stringent sanctions would promote Singh’s compliance
                 with his discovery obligations in this lawsuit. Accordingly, the Court determines
                 that such sanctions are appropriate under Texas Rule of Civil Procedure 215.3 to
                 prevent further abuse of the discovery process by Singh.

        (3)      The sum of $500.00 for ESA’s attorneys’ fees ESA incurred in seeking Singh’s
                 compliance with ESA’s discovery requests are reasonable and were necessarily
                 incurred in seeking Singh’s discovery responses, taking into consideration the fee
                 arrangement between ESA and its counsel, Rule 1.04 of the Texas Disciplinary
                 Rules of Professional Conduct, and Arthur Anderson & Co. v. Perry Equip. Corp.,
                 945 S.W.2d 812, 818 (Tex. 1997).

        (4)      The sum of an additional $1,000.00 for ESA’s attorney’s fees is reasonable and
                 necessary in the event Singh does not comply with this Order and produce
                 responses to ESA’s discovery requests within twenty-one (21) days of the date this
                 Order is signed. This $1,000.00 in additional attorneys’ fees will be awarded
                 without further notice, and without prejudice to ESA’s ability to seek further relief.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that ESA’s motion for
attorneys’ fees is granted.

        IT IS FURTHER ORDERED that Singh be and hereby is SANCTIONED and ORDERED
to pay ESA, within thirty (30) days from the date of the signing of this Order, the sum of $500.00
for attorneys’ fees ESA incurred in seeking Singh’s compliance with their discovery requests.


_____________________________________________________________________________________________________________________
ORDER GRANTING ESA’S MOTION FOR ATTORNEYS’ FEES                                                              PAGE 2
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 290 of 331




         IT IS FURTHER ORDERED that Singh shall respond, fully and completely, without
objections to ESA’s Interrogatories, Document Requests, and Request for Disclosures and produce
all documents responsive to ESA’s Document Requests within twenty-one (21) days of the signing
of this order. If Mr. Singh does not provide such responses and documents within twenty-one (21)
days of the signing of this order, the Court shall hereby impose additional sanctions upon Singh in
the amount of $1,000.00, without further notice, and without prejudice to ESA’s ability to seek
further relief.

        THE COURT SO ORDERS.

        Signed this QG day of October, 2020.


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ORDER GRANTING ESA’S MOTION FOR ATTORNEYS’ FEES                                                              PAGE 2
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 291 of 331




               EXHIBIT C-29
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 292 of 331




                                 CAUSE NO. D-1-GN-19-008866

 RAVINDRA SINGH,                                      §               IN THE DISTRICT COURT
                                                      §
         Plaintiff,                                   §
                                                      §
 V.                                                   §
                                                      §
 EXTENDED STAY AMERICA, INC.,                         §               TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                        §
 BRIAN MORGAN, CRYSTAL TORRES,                        §
 JON DOE, and JANE DOE,                               §
                                                      §
         Defendants.                                  §              53RD JUDICIAL DISTRICT


                                              ORDER


       Came on for consideration the special exceptions filed by Defendant Bruce N. Haase in

paragraphs 11 through 16 of his answer to the petition filed by Plaintiff Ravindra Singh (“Singh”).

The Court, having considered the special exceptions, the Defendants’ joint brief in support of their

special exceptions, Singh’s response (if any), the record, and applicable authorities, finds that the

special exceptions should be sustained. Therefore,

       The Court ORDERS that Bruce N. Haase’s special exceptions in paragraphs 11 through 16

of his answer be, and are hereby, sustained. The Court ORDERS that, within seven calendar days

of this order, Singh shall file an amended complaint to remedy the special exceptions, and that if

Singh fails to do so, the Court will dismiss the petition without further notice.

       Signed this 7th day of October, 2020.



                                               HONORABLE DUSTIN M
                                                                M. HOWEL
                                                                   HOWELL




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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 293 of 331




               EXHIBIT C-30
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 294 of 331




                                CAUSE NO. D-1-GN-19-008866

 RAVINDRA SINGH,                                      §                 IN THE DISTRICT COURT
                                                      §
        Plaintiff,                                    §
                                                      §
 V.                                                   §
                                                      §
 EXTENDED STAY AMERICA, INC.,                         §                 TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                        §
 BRIAN MORGAN, CRYSTAL TORRES,                        §
 JON DOE, and JANE DOE,                               §
                                                      §
        Defendants.                                   §                 53RD JUDICIAL DISTRICT


                                              ORDER


       Came on for consideration the special exception filed by defendant Extended Stay

America, Inc. (“ESA”) in paragraphs 1 through 7 of its answer to the petition filed by Plaintiff

Ravindra Singh (“Singh”). The Court, having considered the special exception, the Defendant’s

joint brief in support of their special exceptions, Singh’s response (if any), the record, and

applicable authorities, finds that the special exception should be sustained. Therefore,

       The Court ORDERS that ESA’s special exceptions in paragraphs 2 through 7 of its answer

be, and are hereby, sustained. The Court ORDERS that, within seven calendar days of this order,

Singh shall file an amended complaint that remedies the special exceptions, and that if Singh fails

to do so, the Court will dismiss the petition without further notice.

       Signed this 7th day of October, 2020.



                                               HONORABLE DUSTIN M. HOWELL




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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 295 of 331




               EXHIBIT C-31
        Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 296 of 331




        Plaintiff,




        Defendants




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                                                Dustin M. Howell




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Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 297 of 331




               EXHIBIT C-32
       Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 298 of 331




                                   CAUSE NO. D-1-GN-008866

 RAVINDRA SINGH,                                     §                 IN THE DISTRICT COURT
                                                     §
           Plaintiff,                                §
                                                     §
 V.                                                  §
                                                     §
 EXTENDED STAY AMERICA, INC.,                        §                 TRAVIS COUNTY, TEXAS
 BRUCE N. HAASE, MURRAY TYLER,                       §
 BRIAN MORGAN, CRYSTAL TORRES,                       §
 JON DOE, and JANE DOE,                              §
                                                     §
           Defendants.                               §                53RD JUDICIAL DISTRICT

AMENDED ORDER ON DEFENDANT BRUCE N. HAASE’S SPECIAL APPEARANCE

       The Court hereby VACATES its order of October 7, 2020 related to Defendant Bruce N.

Haase’s Special Appearance in its entirety, and ENTERS the following amended order in place

thereof:

       On October 6, 2020, a hearing was conducted regarding Defendant Bruce N. Haase’s

Special Appearance. Counsel for Mr. Haase appeared at the hearing. Plaintiff Ravindra Singh did

not appear at the hearing or file a response to Mr. Haase’s Special Appearance, despite receiving

proper and sufficient advance notice of such hearing. The Court, after considering Mr. Haase’s

Special Appearance, the evidence, the record, Mr. Haase’s counsel’s arguments, and the applicable

authorities, finds that the Court lacks personal jurisdiction over Mr. Haase, an out-of-state resident.

Accordingly, the Court grants Mr. Haase’s Special Appearance. Therefore,

       The Court ORDERS that that Defendant Bruce N. Haase’s Special Appearance is

GRANTED. Plaintiff’s claims against Defendant Bruce M. Haase are DISMISSED, and Haase is

hereby DISMISSED from this lawsuit for lack of personal jurisdiction.

                       12th day of October, 2020.
       Signed this the ____                    0.

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                                                   Dustin M. Howell
Case 1:20-cv-01128-LY Document 1-3 Filed 11/13/20 Page 299 of 331




               EXHIBIT C-33
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               EXHIBIT C-34
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